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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

DAVID B. TRACEY, e¢ al.,

Plaintiffs,
Vv. No. 16-cv-11620-NMG

MASSACHUSETTS INSTITUTE OF
TECHNOLOGY, ef al.,

Defendants.
ARe@P Osa) FINAL ORDER AND JUDGMENT
Upon consideration of Plaintiffs’ Unopposed Motion for Final Approval of the Settlement of
this action (the “Class Action”) pursuant to the terms of a Class Action Settlement Agreement
dated October 28, 2019 (the “Settlement Agreement”), the Court hereby orders and adjudges as
follows:

il, For purposes of this Final Order and Judgment, capitalized terms used herein have
the definitions in the Settlement Agreement, which is incorporated herein by reference.

Ze In accordance with the Court’s Orders, and as determined by this Court
previously, notice was timely distributed by electronic or first-class mail to all members of the
Settlement Class who could be identified with reasonable effort, and notice was published on the
website maintained by Class Counsel. In addition, pursuant to the Class Action Fairness Act, 28
U.S.C. § 1711, ef seg., notice was provided to the Attorneys General for each of the states in
which a Settlement Class Member resides, the Attorney General of the United States, and the
United States Secretary of Labor.

3. The form and methods of notifying the Settlement Class of the terms and
conditions of the proposed Settlement Agreement met the requirements of Fed. R. Civ. P.
23(c)(2), any other applicable law, and due process, and constituted the best notice practicable

under the circumstances; and due and sufficient notices of the fairness hearing and the rights of
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all Settlement Class Members have been provided to all people, powers and entities entitled

thereto.

4, All requirements of the Class Action Fairness Act, 28 U.S.C. § 1711, et seq., have
been met.

5. Members of the Settlement Class had the opportunity to be heard on all issues
regarding the resolution and release of their claims by submitting objections to the Settlement
Agreement to the Court.

6. Each and every Objection to the settlement is overruled with prejudice.

7. The motion for final approval of the Settlement Agreement is hereby
GRANTED, the Settlement of the Class Action is APPROVED as fair, reasonable and adequate
to the Plan and the Settlement Class, and the Settling Parties are hereby directed to take the
necessary steps to effectuate the terms of the Settlement Agreement.

8. The operative complaint and all claims asserted therein are hereby dismissed with
prejudice and without costs to any of the Settling Parties other than as provided for in this
Settlement Agreement.

9. The Class Representatives and the Class Members (and their respective heirs,
beneficiaries, executors, administrators, estates, past and present partners, officers, directors,
agents, attorneys, predecessors, successors and assigns) hereby fully, finally, and forever settle,
release, relinquish, waive and discharge all Released Parties (including the Defendants) from the
Released Claims, regardless of, ¢.g., whether or not such Class Members have executed and
delivered a Former Participant Claim Form, whether or not such Class Members have filed an

objection to the Settlement or to any application by Class Counsel for an award of Attorneys’
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Fees and Costs, and whether or not the objections or claims for distribution of such Class
Members have been approved or allowed.

10. | The Class Members acting individually or together, or in combination with others,
are hereby barred and enjoined from suing or seeking to institute, maintain, prosecute, argue, or
assert in any action or proceeding (including but not limited to an IRS determination letter
proceeding, a Department of Labor proceeding, an arbitration or a proceeding before any state
insurance or other department or commission), any cause of action, demand, or claim on the
basis of, connected with, or arising out of any of the Released Claims. Nothing herein shall
preclude any action to enforce the terms of the Settlement Agreement in accordance with the
procedures set forth in the Settlement Agreement.

11. Class Counsel, the Class Representatives or the Class Members may hereafter
discover facts in addition to or different from those that they know or believe to be true with
respect to the Released Claims. Such facts, if known by them, might have affected the decision
to settle with the Defendants and the other Released Parties or the decision to release, relinquish,
waive, and discharge the Released Claims, or might have affected the decision of a Class
Member not to object to the Settlement. Notwithstanding the foregoing, each Class
Representative and Class Member has hereby fully, finally and forever settled, released,
relinquished, waived and discharged any and all Released Claims, and each Class Representative
and Class Member has hereby acknowledged that the foregoing waiver was bargained for
separately and is a key element of the Settlement embodied in the Settlement Agreement of
which this release is a part.

12. The Class Representatives and Class Members hereby settle, release, relinquish,

waive and discharge any and all rights or benefits they may now have, or in the future may have,
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under any law relating to the releases of unknown claims, including without limitation, Section
1542 of the California Civil Code, which provides: “A general release does not extend to claims
which the creditor does not know or suspect to exist in his or her favor at the time of executing
the release and that, if known by him or her, would have materially affected his or her settlement
with the debtor or released party.” The Class Representatives and Class Members with respect to
the Released Claims also hereby waive any and all provisions, rights and benefits conferred by
any law or of any State or territory within the United States or any foreign country, or any
principle of common law, which is similar, comparable or equivalent in substance to Section
1542 of the California Civil Code.

13. The Court finds that it has subject matter jurisdiction over the claims herein and
personal jurisdiction over Class Members herein pursuant to the provisions of ERISA, and
expressly retains that jurisdiction for purposes of enforcing this Final Order and the Settlement
Agreement. Any motion to enforce paragraphs 8 through 12 of this Final Order or the Settlement
Agreement, including by way of injunction, may be filed in this Court, and the provisions of the
Settlement Agreement and/or this Final Order may also be asserted by way of an affirmative
defense or counterclaim in response to any action that is asserted to violate the Settlement
Agreement.

14. Each member of the Class shall hold harmless Defense Counsel and the Released
Parties for any claims, liabilities, attorneys’ fees and expenses arising from the allocation of the
Gross Settlement Amount or Net Settlement Amount and for all tax liability and associated

penalties and interest as well as related attorneys’ fees and expenses.
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15. | The Settlement Administrator shall have final authority to determine the share of
the Net Settlement Amount to be allocated to each Current Participant and each Authorized
Former Participant.

16, With respect to payments or distributions to Authorized Former Participants, all
questions not resolved by the Settlement Agreement shall be resolved by the Settlement
Administrator in its sole and exclusive discretion.

17. Within twenty-one (21) calendar days following the issuance of all settlement
payments to Class Members, the Settlement Administrator shall prepare and provide to Class
Counsel and Defense Counsel a list of each person who was issued a settlement payment and the
amount of such payment.

18. | Upon entry of this Order, all Class Members shall be bound by the Settlement
Agreement as amended and by this Final Order.

SO ORDERED:

DATED: ‘Vane S 2020

HON. NATHANIEL M. GORTON
UNITED STATES DISTRICT JUDGE
